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                                                                                    1   LAGOMARSINO LAW
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                                                                                        Attorneys for Plaintiff Parnell Jay Fair
                                                                                    8
                                                                                                                    UNITED STATES DISTRICT COURT
                                                                                    9
                                                                                                                            DISTRICT OF NEVADA
                  3005 West Horizon Ridge Parkway, #241, Henderson, Nevada 89052




                                                                                   10
                                                                                        PARNELL JAY FAIR, individually,                   CASE NO: 2:20-cv-01841-JCM-BNW
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                                                                                   11
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                                                                                   12          Plaintiff,                            STIPULATION AND [PROPOSED] ORDER
                                                                                                                                     TO EXTEND PLAINTIFF’S DEADLINE TO
                                                                                   13   v.                                            FILE HIS RESPONSE TO DEFENDANT
                                                                                                                                      BROCK T. WENTZ, D.O.’S MOTION TO
                                                                                   14   LAS VEGAS METROPOLITAN POLICE                        DISMISS (ECF NO. 16)
                                                                                   15   DEPARTMENT, a political subdivision of the
                                                                                        State of Nevada; L. TURLEY P# 15885,                     (First Request)
                                                                                   16   individually; A. RYNDAK P# 16540,
                                                                                        individually;    UNIVERSITY     MEDICAL
                                                                                   17   CENTER, D/B/A UNIVERSITY MEDICAL
                                                                                        CENTER OF SOUTHERN NEVADA, a Nevada
                                                                                   18   Governmental Entity; CHASITY TRAVIS,
                                                                                   19   individually; JENNA A. DOUD, individually;
                                                                                        JESSE WELLS, individually; CASEY ALLEN
                                                                                   20   ROEHR, individually; HOWARD SHANE,
                                                                                        individually; SCOTT KEVIN LEE, individually;
                                                                                   21   BROCK T. WENTZ, individually; DOES I – X,
                                                                                        and ROES I – X, inclusive
                                                                                   22

                                                                                   23          Defendants.

                                                                                   24          WHEREAS Defendant Brock T. Wentz, D.O. filed his Motion to Dismiss (“Motion”) on
                                                                                   25   November 2, 2020 (ECF No. 16) in response to Plaintiff’s Complaint (ECF No. 1).
                                                                                   26
                                                                                               Pursuant to Local Rule IA 6-1(a), the Parties hereby stipulate and agree to extend the
                                                                                   27
                                                                                        deadline for Plaintiff to file his response to Defendant Brock T. Wentz, D.O.’s Motion. The current
                                                                                   28
                                                                                        deadline for Plaintiff to respond to Defendant Brock T. Wentz, D.O.’s Motion is November 16,

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                                                                                    1   2020. The new deadline for Plaintiff to respond to Defendant Brock T. Wentz, D.O.’s Motion will

                                                                                    2   be January 31, 2021.
                                                                                    3
                                                                                                 Good cause exists for the extension because Plaintiff is expecting to receive similar motions
                                                                                    4
                                                                                        to dismiss from other medical provider Defendants who have not yet appeared in this case. Further,
                                                                                    5
                                                                                        given that Plaintiff expects to receive numerous upcoming motions, the Parties believe that, in the
                                                                                    6
                                                                                        interest of judicial economy, it would be prudent for Plaintiff to respond to Defendant Brock T.
                                                                                    7

                                                                                    8   Wentz, D.O.’s Motion at the same time as he prepares responses to the other expected motions,

                                                                                    9   once all of the other medical provider Defendants have made their appearances in this action and
                  3005 West Horizon Ridge Parkway, #241, Henderson, Nevada 89052




                                                                                   10   filed their responsive pleadings. Finally, good cause also exists to extend Plaintiff’s response
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                                                                                   11
                                                                                        deadline to January 31, 2021 because the upcoming holidays will limit the availability for Plaintiff’s
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                                                                                   12
                                                                                        counsel to draft a comprehensive and meaningful response.
                                                                                   13
                                                                                                 This extension is the first request for an extension and is not submitted for the purpose of
                                                                                   14

                                                                                   15   delay.

                                                                                   16            IT IS SO STIPULATED AND AGREED.

                                                                                   17   DATED this 6th day of November, 2020.             DATED this 6th day of November, 2020.
                                                                                   18   LAGOMARSINO LAW                                   LEWIS BRISBOIS BISGAARD & SMITH
                                                                                   19                                                     LLP

                                                                                   20   _/s/ Daven P. Cameron______________               _/S/ MELANIE L. THOMAS __________________.
                                                                                        Andre M. Lagomarsino, Esq. (#6711)                Keith A. Weaver, Esq.
                                                                                   21   Daven P. Cameron, Esq. (#14179)                   Nevada Bar No. 10271
                                                                                        3005 West Horizon Ridge Parkway, #241             Melanie L. Thomas, Esq.
                                                                                   22
                                                                                        Henderson, Nevada 89052                           Nevada Bar No. 12576
                                                                                   23   Attorneys for Plaintiff Parnell Jay Fair          6385 South Rainbow Blvd. Suite 600
                                                                                                                                          Las Vegas, Nevada 89118
                                                                                   24                                                     Attorneys for Defendant Brock T. Wentz, D.O.

                                                                                   25

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                                                                                    1   DATED this 6th day of November, 2020.         DATED this 6th day of November, 2020.

                                                                                    2   KAEMPFER CROWELL                              PITEGOFF LAW OFFICE
                                                                                    3
                                                                                        _/s/ Lyssa Anderson__________________         _/s/ Jeffrey I. Pitegoff  _________________
                                                                                    4   Lyssa S. Anderson, Esq.                       Jeffrey I. Pitegoff, Esq.
                                                                                        Ryan W. Daniels, Esq.                         911 Buffalo Drive, Suite 201
                                                                                    5   1980 Festival Plaza Drive, Suite 650          Las Vegas, Nevada 89128
                                                                                        Las Vegas, Nevada 89135                       Attorney for Defendants University Medical
                                                                                    6   Attorneys for Defendants LVMPD, Lukas         Center and Chasity Travis
                                                                                        Turley, and Alexander Ryndak
                                                                                    7

                                                                                    8   DATED this 6th day of November, 2020.

                                                                                    9   McBRIDE HALL
                  3005 West Horizon Ridge Parkway, #241, Henderson, Nevada 89052




                                                                                   10   _/s/ Robert McBride__________________
                                                                                        Robert C. McBride, Esq.
                       Telephone (702) 383-2864 Facsimile (702) 383-0065




                                                                                   11
                                                                                        8329 West Sunset Road, Suite 260
LAGOMARSINO LAW




                                                                                   12   Las Vegas, Nevada 89113
                                                                                        Attorney for Defendant Jenna Doud and Jesse
                                                                                   13   Wells
                                                                                   14

                                                                                   15         IT IS SO ORDERED.

                                                                                   16                                            ___________________________________________
                                                                                                                                 UNITED STATES DISTRICT COURT JUDGE
                                                                                   17
                                                                                                                                          November 9, 2020
                                                                                                                                 DATED: ______________________________
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